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 4
     Attorney for: JASPREET DHADDA
 5

 6                      IN THE UNITED STATES DISTRICT COURT
 7                    FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9   UNITED STATES OF AMERICA,                      )      No. CR-S-11-0077 WBS
                                                    )
10                      Plaintiff,                  )      STIPULATION AND ORDER
                                                    )      CONTINUING STATUS
11         vs.                                      )      HEARING
                                                    )
12   JASPREET DHADDA, et al.                        )
                                                    )
13                      Defendant.                  )
                                                    )
14

15         Defendants: JASPREET DHADDA, through his attorney, PETER KMETO;
16   CHRISTOPHER TABOR, through his attorney, MATTHEW SCOBLE; JAIME
17   MAROTTE, through his attorney, MICHAEL BIGELOW; and, the United States of
18   America, through its counsel of record, JASON HITT, stipulate and agree to the
19   following:
20         1. The presently scheduled date of June 6, 2011 for Status Hearing shall be
21         vacated and said Hearing be rescheduled for July 11, at 8:30 a.m..
22         2. Defense counsel have been provided voluminous discovery and require the

23         requested time period to review same and to, thereafter advise their clients.

24         Accordingly, the parties stipulate that time be excluded pursuant to 18 U.S.
25         C. §3161(h)(7)(A) [Local Code T4] – additional time to adequately prepare for
26         pretrial proceedings.
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 1         IT IS SO STIPULATED.
 2   Dated:   June 1, 2011                          /s/ JASON HITT
 3                                                 Assistant U.S. Attorney
                                                   for the Government
 4

 5   Dated:   June 1, 2011                          /s/ PETER KMETO
                                                   Attorney for Defendant
 6
                                                   JASPREET DHADDA
 7
     Dated:   June 1, 2011                         /s/ MATTHEW SCOBLE
 8
                                                   Attorney for Defendant
 9                                                 CHRISTOPHER TABOR
10
     Dated:   June 1, 2011                          /s/ MICHAEL BIGELOW
11                                                 Attorney for Defendant
12                                                 JAIME MAROTTE

13

14
                                           ORDER
15
                 UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is
16
     ordered that the hearing for STATUS HEARING be continued as set forth above.
17

18               The Court finds excludable time pursuant to 18 U.S.C. § 3161(h)(7)(A)

19   and Local Rule T-4 until July 11, 2011 for continuity of defense counsel and time to

20   permit defense counsel to prepare and properly advise his client.

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     DATED: June 1, 2011
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